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                    IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )     1:05-CR-00479 OWW
                                      )
12             Plaintiff,             )     PRELIMINARY ORDER OF
                                      )     FORFEITURE
13             v.                     )
                                      )
14   SOFIA MACIEL PASCACIO,           )
                                      )
15             Defendant.             )
                                      )
16
17        Based upon the guilty verdicts entered October 29, 2007, against
18   defendant Sofia Maciel Pascacio and the jury’s special verdict
19   regarding the forfeiture, it is hereby
20        ORDERED, ADJUDGED AND DECREED as follows:
21        1.   Pursuant to 21 U.S.C. § 853(a), defendant Sofia Maciel
22   Pascacio’s interest in the following property shall be condemned and
23   forfeited to the United States of America, to be disposed of
24   according to law:
25             a)    Real Property located at 1024 West Meyers Avenue,
                     Fresno, California, APN: 464-162-24.
26
          2.   The above-listed property was used or intended to be used,
27
     in any manner or part, to commit or to facilitate the commission of
28
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 1   violations of 21 U.S.C. §§§ 846, 841(a)(1), and 856(a)(2).
 2        3.   Pursuant to Rule 32.2(b), the Attorney General (or a
 3   designee) shall be authorized to seize the above-listed property.
 4   The aforementioned property shall be seized and held by the United
 5   States Marshals Service, in its secure custody and control.
 6        4.    a.   Pursuant to 21 U.S.C. § 853(n) and Local Rule 83-171,
 7   the United States forthwith shall publish at least once for three
 8   successive weeks in the Fresno Business Journal (Fresno County), a
 9   newspaper of general circulation located in the county in which the
10   above-listed property is located, notice of this Order, notice of the
11   Attorney General’s intent to dispose of the property in such manner
12   as the Attorney General may direct, and notice that any person, other
13   than the defendant, having or claiming a legal interest in the above-
14   listed property must file a petition with the Court within thirty
15   (30) days of the final publication of the notice or of receipt of
16   actual notice, whichever is earlier.
17              b.   This notice shall state that the petition shall be for
18   a hearing to adjudicate the validity of the petitioner's alleged
19   interest in the property, shall be signed by the petitioner under
20   penalty of perjury, and shall set forth the nature and extent of the
21   petitioner's right, title, or interest in the property and any
22   additional facts supporting the petitioner's claim and the relief
23   sought.
24              c.   The United States may also, to the extent practicable,
25   provide direct written notice to any person known to have alleged an
26   interest in the property that is the subject of the Order of
27   Forfeiture, as a substitute for published notice as to those persons
28   so notified.
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 1         5.   If a petition is timely filed, upon adjudication of all
 2   third-party interests, if any, this Court will enter a Final Order of
 3   Forfeiture pursuant to 21 U.S.C. § 853(a) in which all interests will
 4   be addressed.
 5        IT IS SO ORDERED.
 6   Dated: December 1, 2007                /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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